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                                                                                                 1   Michael K. Cernyar, Esq. (State Bar No. 225240)
                                                                                                     LAW OFFICE OF MICHAEL K. CERNYAR
                                                                                                 2   400 Oceangate, Eighth Floor
                                                                                                     Long Beach, California 90802
                                                                                                 3   Telephone: (562) 216-2940
                                                                                                     Facsimile: (562) 216-2941
                                                                                                 4
                                                                                                     Attorney for Defendant, TIEN TRUONG NGUYEN
                                                                                                 5

                                                                                                 6                       UNITED STATES DISTRICT COURT
                                                                                                 7                      EASTERN DISTRICT OF CALIFORNIA
                                                                                                 8
                                   400 OCEANGATE ·EIGHTH FLOOR ·LONG BEACH, CALIFORNIA 90802




                                                                                                 9   UNITED STATES OF AMERICA,                  Case No. MJ 07-0102-DAD
                                                                                                10                         Plaintiff,
LAW OFFICE OF MICHAEL K. CERNYAR




                                                                                                                                                NOTICE OF MOTION AND MOTION
                                            Telephone: 562/216-2940 · Facsimile: 562/216-2941




                                                                                                11                                              TO RECONSIDER DETENTION
                                                                                                          v.
                                                                                                12   TIEN TRUONG NGUYEN,                        DATE: June 12, 2007
                                                                                                                                                TIME: 2:00 p.m.
                                                                                                13                         Defendant.
                                                                                                                                                ROOM: 27
                                                                                                14

                                                                                                15   TO THE HONORABLE DALE A DROZD, UNITED STATES MAGISTRATE JUDGE AND
                                                                                                     ALL PARTIES:
                                                                                                16

                                                                                                17        Defendant TIEN TRUONG NGUYEN (“Mr. Nguyen”), by and through

                                                                                                18   his counsel, Michael K. Cernyar, respectfully requests that this

                                                                                                19   Court set a hearing for June 12, 2007 to reconsider the Order of
                                                                                                20   Detention entered in this case on May 3, 2007.
                                                                                                21
                                                                                                          1. Mr. Nguyen was arrested on or about April 17, 2007.
                                                                                                22
                                                                                                     Subsequently Mr. Nguyen was indicted with 1) conspiracy to commit
                                                                                                23
                                                                                                     computer fraud and access device fraud, 2) access device fraud 3)
                                                                                                24
                                                                                                     possession of more than 15 unauthorized access devices, 4)
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                                                                                                26   aggravated identity theft, 5) felon in possession of a firearm

                                                                                                27   and ammunition.   The government moved to detain Mr. Nguyen

                                                                                                28   without bond.


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                                                                                                 1        2. During a hearing on May 3, 2007, the Government continued
                                                                                                 2   to move for detention on flight, danger, and PTS report. The
                                                                                                 3
                                                                                                     Government proffered grounds for detention on the record (drug
                                                                                                 4
                                                                                                     use, felony convictions, firearms).
                                                                                                 5
                                                                                                          3. During the May 3, hearing the Defense addressed the
                                                                                                 6
                                                                                                     Government’s concerns as to drug use and prior criminal history.
                                                                                                 7

                                                                                                 8   The Defense proffered no access to devices and argued Mr. Nguyen
                                   400 OCEANGATE ·EIGHTH FLOOR ·LONG BEACH, CALIFORNIA 90802




                                                                                                 9   has no prior failures to appear.         The Defense informed the Court

                                                                                                10   of several properties being available as bond.
LAW OFFICE OF MICHAEL K. CERNYAR
                                            Telephone: 562/216-2940 · Facsimile: 562/216-2941




                                                                                                11        4. The Court addressed PTS concerns of danger. After
                                                                                                12
                                                                                                     hearing, for reasons stated on the record, Court ordered Mr.
                                                                                                13
                                                                                                     Nguyen detained, without prejudice, pending further proceedings.
                                                                                                14
                                                                                                     The Court noted a $2,000,000 bond of posted property would
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                                                                                                16   address flight risk.    The Court noted a stable residence with

                                                                                                17   third party custodian, pretrial supervision, electronic

                                                                                                18   monitoring device, with all conditions of supervised release,
                                                                                                19   would address danger to community. Moreover, the Court conducted
                                                                                                20
                                                                                                     voir dire of defendant's aunt, Huynh Mai Thi Le, and uncle, Quy
                                                                                                21
                                                                                                     Ngoc Truong, through Vietnamese Interpreter, Minhtam Ha, of
                                                                                                22
                                                                                                     understanding of posting combined equity in their property for an
                                                                                                23
                                                                                                     appearance bond.
                                                                                                24

                                                                                                25        5.   Currently, the Defense believes that they have a

                                                                                                26   solution in addressing the stable residence with a third party

                                                                                                27   custodian.
                                                                                                28
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                                                                                                                             NOTICE TO RECONSIDER DETENTION
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                                                                                                 1        Wherefore, for these reasons and any such reasons that shall
                                                                                                 2   appear to the Court, Mr. Nguyen respectfully requests that a
                                                                                                 3
                                                                                                     hearing for reconsideration of detention be set on June 12, 2007.
                                                                                                 4
                                                                                                          Respectfully submitted,
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                                                                                                 6

                                                                                                 7                                       LAW OFFICE OF MICHAEL K. CERNYAR
                                                                                                 8
                                   400 OCEANGATE ·EIGHTH FLOOR ·LONG BEACH, CALIFORNIA 90802




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                                                                                                10   DATED:   June 7, 2007         By:    ____________/s/____________
LAW OFFICE OF MICHAEL K. CERNYAR




                                                                                                                                                MICHAEL K. CERNYAR
                                            Telephone: 562/216-2940 · Facsimile: 562/216-2941




                                                                                                11                                           Attorney for Defendant
                                                                                                                                               TIEN TRUONG NGUYEN
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                                                                                                                             NOTICE TO RECONSIDER DETENTION
